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 7                              UNITED STATES DISTRICT COURT
 8                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    NICOLE COGDELL, et al.            )               CASE NO. SACV 12-1138 AG (ANx)
                                        )
11                     Plaintiffs,      )
                                        )               FINAL JUDGMENT
12               v.                     )
                                        )
13                                      )
      THE WET SEAL, INC., et al.        )
14                                      )
                       Defendants.      )
15                                      )
      _________________________________ )
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17
      Under the Court's December 9, 2013, Order Granting Final Approval of Settlement (“Order”)
18
      (Dkt. No. 117), it is hereby ORDERED that final judgment in this matter is entered in
19
      accordance with the Order and the Settlement it incorporates.
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21
      The above-captioned action is dismissed with prejudice.
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23
      IT IS SO ORDERED.
24
25
      DATED: December 20, 2013                        _______________________________
26                                                            Andrew J. Guilford
                                                          United States District Judge
27
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